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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 DONNICE ROBERTS, Individually, and as §
 NEXT FRIEND of JOHNNY and JANIE §
 DOE, minors                           §
                                       §
 Plaintiffs,                           §
                                       §
 v.                                    §                    CAUSE NO. 6:12-CV-839
                                       §
 NATIONAL GEOGRAPHIC SOCIETY; a §
 District of Columbia Corporation; FOX §
 CABLE NETWORKS, INC., a Delaware §
 Corporation; and FOX ENTERTAINMENT §
 GROUP, INC., a Delaware Corporation,  §
                                       §
 Defendants.                           §

                                 NOTICE OF SETTLEMENT

       Please take notice that a settlement has been reached in this matter.

                                                     Respectfully submitted,

                                                     /s/Jeffrey T. Embry
                                                     Jeffrey T. Embry
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                                                     ATTORNEY FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that any counsel of record have been served a copy
of this pleading in compliance with the Federal Rules of Civil Procedure and via the Court's
electronic filing system on this 18th day of February 2013.

                                                     /s/Jeffrey T. Embry
                                                     Jeffrey T. Embry
